                                                                                    EXHIBIT 4
                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT COURT OF ARKANSAS
                                WESTERN DIVISION

DAREL ADELSBERGER and                                                              PLAINTIFFS
ANNETTE ADELSBERGER

v.                                CASE NO. 4:19-CV-3-SWW

UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT

     NOTICE OF VIDEOTAPED DEPOSITION AND SUBPOENA DUCES TECUM

       Please take Notice that Defendant Union Pacific Railroad Company will take the

videotaped deposition of Darel Adelsberger upon oral examination before a notary public or

some other officer authorized to administer oaths. The deposition will begin at 10:00 a.m. on

February 12, 2020 and will continue from day to day until completed. The deposition will be

taken at the following address:

       Friday, Eldredge & Clark
       400 W. Capitol Avenue
       21st Floor
       Little Rock, Arkansas 72201

       Darel Adelsberger is required to bring to the deposition the items referenced in Exhibit A

attached hereto.

                                             Respectfully submitted,

                                            Scott H. Tucker, #87176
                                            Joshua C. Ashley, #2012051
                                            FRIDAY, ELDREDGE & CLARK, LLP
                                            400 West Capitol Avenue, Suite 2000
                                            Little Rock, Arkansas 72201-3522
                                            Telephone: (501) 376-2011
                                            Facsimile: (501) 376-2147
                                            Email: tucker@fridavfinn.com


                                             Scott H. Tucker. #87176
                              CERTIFICATE OF SERVICE

    I, Scott H. Tucker, certify that a true and correct copy of this filing has been served by
electronic mail and first class U.S. mail postage prepaid on this j2o <^£iay of January, 2020
upon:

Stanley D. Rauls
P.O.Box 21665
Little Rock, AR 72221
sdrCa),aristPile, net



                                         Scott H. Tucker
                                       EXHIBIT A

1.   Copies of all financial records and other documents which substantiate, prove or
     otherwise support Plaintiffs’ claim for damages in this case.
                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT COURT OF ARKANSAS
                               WESTERN DIVISION

DAREL ADELSBERGER and                                                              PLAINTIFFS
ANNETTE ADELSBERGER

v.                                CASE NO. 4:19-CV-3-SWW

UNION PACIFIC RAILROAD COMPANY                                                    DEFENDANT

     NOTICE OF VIDEOTAPED DEPOSITION AND SUBPOENA DUCES TECUM

       Please take Notice that Defendant Union Pacific Railroad Company will take the

videotaped deposition of Annette Adelsberger upon oral examination before a notary public or

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       400 W. Capitol Avenue
       21sl Floor
       Little Rock, Arkansas 72201

       Annette Adelsberger is required to bring to the deposition the items referenced in Exhibit

A attached hereto.

                                            Respectfully submitted,

                                            Scott H. Tucker, #87176
                                            Joshua C. Ashley, #2012051
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                                            400 West Capitol Avenue, Suite 2000
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                                                                 Is
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Little Rock, AR 72221
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                                           ■u     £{—
                                         Scott H. Tucker
                                       EXHIBIT A

1.   Copies of all financial records and other documents which substantiate, prove or
     otherwise support Plaintiffs’ claim for damages in this case.
